          Case 3:06-cv-00056-MMD-VPC Document 133 Filed 03/21/07 Page 1 of 9



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 8   Federal Programs Branch
     Civil Division - Room 7150
 9   U.S. Department of Justice
     20 Massachusetts Ave., NW/P.O. Box 883
10   Washington, D.C. 20044
     Telephone: (202)514-4522
11   Facsimile: (202) 616-8470
12                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
13
14   DENNIS MONTGOMERY, et al.,          )
                                         )
15               Plaintiffs,             )
                                         )                3:06-CV-00056-PMP-VPC
16   v.                                  )                BASE FILE
                                         )
17   ETREPPID TECHNOLOGIES, INC.,        )                3:06-CV-00145-PMP-VPC
     et al.,                             )
18                                       )
                 Defendants.             )
19   ____________________________________)
20                  NOTICE OF EMERGENCY MOTION AND MOTION FOR
                       RECONSIDERATION BY THE UNITED STATES
21
            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD: Please take notice that
22
     the United States Department of Defense (DoD), hereby submits its emergency motion for
23
     reconsideration of the Court’s March 19, 2007 Order to prevent the possible unauthorized
24
     disclosure of classified information protected by the state secrets privilege. The motion is based
25
     on this notice of motion and motion and the following memorandum of points and authorities.
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 1             MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
           OF UNITED STATES’ EMERGENCY MOTION FOR RECONSIDERATION
 2
            In its March 19, 2007 Order, the Court granted plaintiffs’ Federal Rule of Criminal
 3
     Procedure 41(g) motion to unseal search warrant affidavits and return seized property. During
 4
     the pendency of the proceedings relating to the Rule 41(g) motion, the Court had ordered that the
 5
     filings be made under seal, as a result of which neither counsel for eTreppid nor the United States
 6
     in the civil litigation has previously reviewed the documents filed in the return of property
 7
     proceedings. The March 19 Order provides that the filings made in the Rule 41(g) action shall be
 8
     unsealed unless, for good cause shown, the Court determines that a particular filing, declaration,
 9
     or exhibit is privileged. March 19, 2007 Order at 17. Acknowledging that both the United States
10
     and eTreppid had filed motions for protective orders, the Court has provided the parties with 21
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     days to review the sealed case file and to file with the Court any objection to the unsealing of any
12
     portion of the record. Id.
13
            On September 25, 2006, the United States moved for a protective order pursuant to
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     Federal Rule of Civil Procedure 26(c) to prevent the disclosure of information relating to (1) the
15
     existence or non-existence of any actual or proposed relationship, agreement, connection,
16
     contract, transaction, communication, or meeting of any kind between an intelligence agency as
17
     defined in 50 U.S.C. § 401(a)(4), which includes intelligence elements of the military services;
18
     and (2) any actual or proposed interest in, application, or use by any intelligence agency, or any
19
     current or former official, employee, or representative thereof, of any technology, software, or
20
     source code owned or claimed by any individuals or entities associated with these lawsuits. The
21
     basis for the protective order was that such information is protected by the military and state
22
     secrets privilege. As explained in the Declaration of John D. Negroponte (Exhibit 1 to the
23
     Motion for Protective Order), because the disclosure of information at issue in this litigation
24
     reasonably could be expected to cause serious, and in some cases exceptionally grave, damage to
25
     national security, the United States' interest in preserving its state secrets is overriding and must
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28                                                     -2-
          Case 3:06-cv-00056-MMD-VPC Document 133 Filed 03/21/07 Page 3 of 9



 1   be safeguarded, even if a party is thereby precluded from establishing its legal position in these
 2   cases.
 3            Notwithstanding this overriding and compelling interest of the United States, the Court’s
 4   March 19 Order requires the simultaneous review of the filings in the return of property
 5   proceedings by counsel for the United States and for eTreppid. To the extent that the filings in
 6   the return of property matter contain information that is classified, the timing of the review could
 7   result in the unauthorized disclosure of information covered by the state secrets privilege and,
 8   thus, could reasonably be expected to cause serious, if not exceptionally grave, harm to national
 9   security. Counsel for eTreppid and Montgomery do not possess security clearances and have not
10   been authorized to access the classified information that may be at issue in this litigation
11   (including information that may have been included in filings made during the course of the
12   litigation pertaining to the return of property). Consequently, if the simultaneous review were to
13   proceed as ordered, there could be an unauthorized disclosure of the precise information subject
14   to state secrets privilege, which the government has sought to protect by filing the motion for
15   protective order.
16            Given these factors, the government moves for reconsideration of the March 19 Order.
17   The government’s interest in protecting national security is paramount. In order to ensure that an
18   unauthorized disclosure does not occur, the government must review the sealed documents first,
19   prior to their review by the other parties, for purposes of determining whether information
20   covered by the state secrets privilege, as asserted in this case, is implicated. Such review must be
21   undertaken by personnel who possess the appropriate security clearances with respect to the
22   privileged information at issue. The government recognizes, however, that others have
23   significant interests in reviewing the sealed materials and that it is advisable to allow the
24   litigation to proceed in an expeditious manner. Government counsel of record in the civil
25   litigation will be unavailable from March 28-April 9, 2007, because of long-scheduled travel
26   outside of the country. Nevertheless, the government will ensure that the review process, as
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28                                                    -3-
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 1   outlined below, will not be delayed due to her absence by having other officials with the
 2   appropriate clearances undertake and complete the process of identifying any information that is
 3   subject to the state secrets privilege as asserted, and providing redacted versions of the pertinent
 4   documents for substitution and filing with the Court by April 9, 2007.
 5           The United States requests the Court to adopt the following process for review:
 6           1. Authorized representatives of the United States, not limited to its counsel, who have
 7   the level of clearance necessary to review information covered by the state secrets privilege as
 8   asserted in this litigation, will review all material in the sealed case file referenced in this Court’s
 9   March 19 Order, and any filings or material placed under seal in the related civil actions,
10   including the declaration of Dennis Montgomery referenced in this Court’s Order. The review
11   will be for the purpose of determining whether any documents contain information that is
12   protected by the state secrets privilege.
13           2. Neither the other parties nor their counsel may review the above-referenced sealed
14   documents until after the United States government review has been completed.
15           3. With respect to those documents for which the state secrets privilege is implicated, the
16   United States government official(s) will:
17                   a. Inform the Clerk’s office of the identity of the pertinent documents and request
18   that the Clerk’s office remove those documents from the sealed case file and store the
19   documents, under the control and supervision of the Court, in accordance with government-
20   approved security procedures for classified information.
21                   b. Make a copy of the documents to be transported to an appropriate facility for a
22   classification review by an original classification authority.
23                   c. Provide the Court with a redacted, unclassified copy of the documents which
24   contained information protected by the state secrets privilege, to be filed with the Court and
25   substituted for the original documents in the record. Such review, redaction, and return of the
26   documents for substitution and filing will be completed by April 9, 2007.
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28                                                     -4-
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 1          4.. After the redacted documents have been substituted for the originals and filed in the
 2   record, they may be reviewed by counsel for eTreppid and Montgomery.
 3          5. With respect to those filings for which the state secrets privilege is not implicated, the
 4   United States has no objection to their review after the review provided for in paragraph 1 has
 5   been completed.
 6          The above process will prevent the unauthorized disclosure of classified national security
 7   information protected by the state secrets privilege and permit the unsealing of information in a
 8   timely manner to the extent that such disclosure is not precluded by law.
 9                                            CONCLUSION
10          For the foregoing reasons, the United States' emergency motion for reconsideration
11   should be granted.
12   DATED: March 21, 2007
13                                                         Respectfully submitted,
14                                                         PETER D. KEISLER
                                                           Assistant Attorney General
15
                                                           STEVEN W. MYRHE
16                                                         Acting United States Attorney
                                                           District of Nevada
17
                                                           GREG ADDINGTON
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20
                                                           VINCENT M. GARVEY
21                                                         Deputy Branch Director
22                                                          /s/ Carlotta P. Wells
                                                           CARLOTTA P. WELLS
23                                                         Senior Trial Counsel
                                                           Federal Programs Branch
24                                                         Civil Division - Room 7150
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25                                                         20 Massachusetts Ave., NW
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26                                                         Washington, D.C. 20044
27
28                                                   -5-
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 1                                                        Counsel for United States
                                                           Department of Defense
 2
     IT IS SO ORDERED
 3
 4   Date: _______________, 2007                  _______________________________
                                                  UNITED STATES DISTRICT JUDGE
 5
                                     CERTIFICATE OF SERVICE
 6
            I hereby certify that I am an employee in the office of the United States Department of
 7
     Justice, Civil Division in Washington DC and I am of such age and discretion as to be competent
 8
     to serve papers. On March 21, 2006, I electronically filed the United States’ Notice of
 9
     Emergency Motion and Motion for Reconsideration, with the accompanying Memorandum of
10
     Points and Authorities. Service was effected through the Court’s electronic filing and service
11
     system upon the following:
12
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                                                  /s/ Carlotta P. Wells
26                                                Carlotta P. Wells
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28                                                  -6-
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12                                UNITED STATES DISTRICT COURT
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14   DENNIS MONTGOMERY, et al.,          )
                                         )
15               Plaintiffs,             )
                                         )                  3:06-CV-00056-PMP-VPC
16   v.                                  )                  BASE FILE
                                         )
17   ETREPPID TECHNOLOGIES, INC.,        )                  3:06-CV-00145-PMP-VPC
     et al.,                             )
18                                       )
                 Defendants.             )
19   ____________________________________)
20                                         PROPOSED ORDER
21            Upon consideration of the United States’ Emergency Motion for Reconsideration, it is
22   hereby
23            ORDERED that the review of the sealed documents referenced in the Court’s March 19,
24   2007 Order shall proceed in the manner set forth below:
25            1. Authorized representatives of the United States, not limited to its counsel, who have
26   the level of clearance necessary to review information covered by the state secrets privilege as
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28                                                    -7-
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 1   asserted in this litigation, shall review all material in the sealed case file referenced in this
 2   Court’s March 19 Order, and any filings or material placed under seal in the related civil actions,
 3   including the declaration of Dennis Montgomery referenced in this Court’s Order. The review
 4   will be for the purpose of determining whether any documents contain information that is
 5   protected by the state secrets privilege.
 6           2. Neither the other parties nor their counsel shall review the above-referenced sealed
 7   documents until after the United States government review has been completed.
 8           3. With respect to those documents for which the state secrets privilege is implicated, the
 9   United States government official(s) will:
10                   a. Inform the Clerk’s office of the identity of the pertinent documents and request
11   that the Clerk’s office remove those documents from the sealed case file and store the
12   documents, under the control and supervision of the Court, in accordance with government-
13   approved security procedures for classified information.
14                   b. Make a copy of the documents to be transported to an appropriate facility for a
15   classification review by an original classification authority.
16                   c. Provide the Court with a redacted, unclassified copy of the documents which
17   contained information protected by the state secrets privilege, to be filed with the Court and
18   substituted for the original documents in the record. Such review, redaction, and return of the
19   documents for substitution and filing will be completed by April 9, 2007.
20           4. After the redacted documents have been substituted for the originals and filed in the
21   record, they may be reviewed by counsel for eTreppid and Montgomery.
22           5. With respect to those filings for which the state secrets privilege is not implicated,
23   counsel for eTreppid and Montgomery may review after the review provided for in paragraph 1
24   has been completed.
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26
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28                                                      -8-
         Case 3:06-cv-00056-MMD-VPC Document 133 Filed 03/21/07 Page 9 of 9



 1   IT IS SO ORDERED
 2   Date: _______________, 2007       _______________________________
 3                                     UNITED STATES DISTRICT JUDGE
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